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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

LARISSA SMITH                                                       CIVIL ACTION

VERSUS                                                              NO. 21-347

CODE, INC.                                                          SECTION: T (1)

                                   SCHEDULING ORDER

       A Scheduling Conference was held April 15, 2021.

       Participating were:    Kerry Ann Murphy, Gregg Greenberg, Laura Elizabeth Avery, David
                              M. Whitaker and Zoe Wilde Vermeulen

       Pleadings have not been completed. Jurisdiction and venue are established.

       Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) have not been completed. All parties

have agreed to exchange no later than Tuesday, June 15, 2021.

       All pretrial motions, including motions in limine regarding the admissibility of expert

testimony, shall be filed and served in sufficient time to permit hearing thereon no later than

Wednesday, December 22, 2021. This Section adheres to Local Rule 78.1E regarding oral

argument on motions. However, this Court will issue an order setting oral argument for a

specific date and time if the Court deems it necessary. Counsel should not appear for oral

argument until ordered to do so. Deadlines for response memoranda are not extended—those

deadlines are based on the noticed submission date and are governed by the Local Rules.

Motions filed in violation of this order will not be considered unless good cause is shown.

THIS NOTICE DOES NOT APPLY T O P R O C E E D I N G S B E F O R E T H E A S S I G N E D
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MAGISTRATE JUDGE.

       Deposition transcripts submitted in support of motions are to be in an uncompressed

format, specifically, double spaced lines on single sided pages.

       In addition, the Court reiterates that Local Rule 7.4 requires leave of court to file a reply to

a respondent’s opposition and Local Rule 7.7 sets page limitation.

       Motions for summary judgment and oppositions to motions for summary judgment shall be

filed in compliance with Local Rules 56.1 and 56.2 requiring parties to file short and concise

statement of material facts as to whether there does or does not exist a genuine issue to be tried.

Additionally, each party shall make specific reference to record evidence supporting its statement

of material facts. Citations to record evidence shall indicate, whenever applicable, an extra exhibit

reference, page reference and records document number reference. Record evidence not specifically

referred to by the parties may not be considered by the Court.

       Depositions for trial use shall be taken and all discovery shall be completed no later than

Monday, December 6, 2021.

       Amendments to pleadings, third-party actions, crossclaims, and counterclaims shall be filed

no later than Tuesday, June 1, 2021.

       Counsel adding new parties subsequent to mailing of this Notice shall serve on each new

party a copy of this Minute Entry. Pleadings responsive thereto, when required, shall be filed within

the applicable delays therefor.

       Written reports of experts, as defined by Federal Rule of Civil Procedure 26(a)(2)(B), who

may be witnesses for Plaintiffs fully setting forth all matters about which they will testify and the

basis therefor shall be obtained and delivered to counsel for Defendant as soon as possible, but in

no event later than Friday, October 22, 2021. The same deadline applies for any expert disclosures
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pursuant to Federal Rule of Civil Procedure 26(a)(2)(C).

       Written reports of experts, as defined by Federal Rule of Civil Procedure 26(a)(2)(B), who

may be witnesses for Defendants fully setting forth all matters about which they will testify and the

basis therefor shall be obtained and delivered to counsel for Plaintiff as soon as possible, but in no

event later than Monday, November 22, 2021. The same deadline applies for any expert disclosures

pursuant to Federal Rule of Civil Procedure 26(a)(2)(C).

       Counsel for the parties shall file in the record and serve upon their opponents a list of all

witnesses who may or will be called to testify at trial and all exhibits which may or will be used at

trial not later than Monday, November 22, 2021.

       The Court will not permit any witness, expert or fact, to testify or any exhibits to be used

unless there has been compliance with this Order as it pertains to the witness and/or exhibits,

without an order to do so issued on motion for good cause shown.

       No later than sixty (60) days after the scheduling conference, the parties shall submit a joint

status report to the court. The status report should be e-filed into the record. The status report shall

contain:

       (1)     A listing of all the parties and counsel who represent the parties;

       (2)     A listing of any motions pending for decision in the case, the date any motion was
               submitted for decision or is set for hearing, an indication of whether oral argument
               was previously or shall be requested on the motion, and an indication whether an
               evidentiary hearing shall be needed on the motion, such as in class certification
               proceedings;

       (3)     The dates and times of any status conference, pretrial conference and trial set in the
               case; a statement as to whether the case is jury or non-jury; and the number of
               expected trial days.

       (4)     A BRIEF description of the factual and legal issues underlying the dispute;

       (5)     A listing of any discovery that remains to be done; and
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       (6)     A description of the status of any settlement negotiations.

       Any party may request a status conference with the Court. The Court may call a status

conference at any time, if deemed necessary. Only counsel of record may participate in status

conference with the Court.

       IT IS ORDERED THAT COUNSEL FOR THE PLAINTIFF CONTACT THE

ASSIGNED MAGISTRATE JUDGE SIX WEEKS PRIOR TO THE PRETRIAL

CONFERENCE DATE FOR THE PURPOSE OF SCHEDULING A SETTLEMENT

CONFERENCE WHICH SHOULD BE HELD NO LESS THAN TWO WEEKS PRIOR TO

THE PRETRIAL CONFERENCE.

       This case may involve extensive documentary evidence, depositions or other discovery. No

special discovery limitations beyond those established in the Federal Rules, Local Rules of this

Court, or the Plan are established.

       A Final Pretrial Conference will be held on Thursday, January 20, 2022, at 1:30 p.m.

Counsel will be prepared in accordance with the final Pretrial Notice attached. Notwithstanding the

attached Pretrial Notice, pretrial orders are to be filed electronically by 4:30 p.m. on a day that

allows two (2) full work days prior to the conference, excluding Saturdays, Sundays and holidays

(i.e., if the conference is set for 10:00 a.m. Friday, it must be filed electronically by 4:30 p.m.

Tuesday. If the conference is set on Monday, the pre-trial order must be filed electronically on

Wednesday by 4:30 p.m.). THE PRETRIAL ORDER SUBMITTED TO THE COURT MUST

BE DOUBLE SPACED AND SIGNED BY ALL COUNSEL.

       Trial will commence the week beginning Monday, February 14, 2022, at 9:30 a.m. before

the District Judge without a jury. Attorneys are instructed to report for trial no later than 30 minutes

prior to this time. The starting time on the first day of a jury trial may be delayed or moved up
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because of jury pooling. Trial is estimated to last 5 days.

       Deadlines, cut-off dates, or other limits fixed herein may only be extended by the Court upon

timely motion filed in compliance with Local Rules and upon a showing of good cause.

Continuances will not normally be granted.


                                                      GREG GERARD GUIDRY
                                                      UNITED STATES DISTRICT JUDGE

                                                      Issued for the Court:
                                                      By:     Dedra D. Pongracz
                                                              Case Manager
                                                              504-589-7747




COPY TO: MAGISTRATE JUDGE
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                             COUNSELOR:

   PLEASE READ THIS ORDER CAREFULLY. IT CONTAINS

INSTRUCTIONS REGARDING MOTION PRACTICE AND

PROCEDURES         FOR      SCHEDULING           A    SETTLEMENT

CONFERENCE THAT APPLY IN SECTION “T” ONLY.
